                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 In re: D&D HOSPITALITY, LLC,                    )          Bankruptcy No. 11-83081-JAC-11
                                                 )
              Debtor.                            )          Chapter 11
                                                 )
                                                 )
 D&D HOSPITALITY, LLC, as                        )
 Chapter 11 Debtor,                              )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )          AP No.: __________________
                                                 )
 FIRST CITIZENS BANK AND                         )
 NORTH TEXAS HOTEL GROUP,                        )
                                                 )
        Defendants.                              )

                                        COMPLAINT

        COMES NOW the plaintiff, D&D Hospitality, LLC, Chapter 11 debtor-in-possession,
 pursuant to FRBP Rules 3012 and 7001(2), and shows unto the Court as follows:

       1.     On September 2, 2011, D&D Hospitality, LLC, (“debtor”) commenced the above
 bankruptcy case by filing a voluntary bankruptcy petition under Chapter 11 of the U. S.
 Bankruptcy Code.

        2.      Debtor is now the qualified and serving debtor-in-possession.

        3.       Jurisdiction of this Court over the instant adversary proceeding is based upon 28
 U.S.C. § 1334 in that this action arises and relates to the above-described Chapter 11 bankruptcy
 case and is not based on a claim or cause of action under state law.

      4.      Venue of this proceeding is based on 28 U.S.C. § 1409 in that it is being
 commenced in the district where the related case under Title 11 U.S.C. is pending.

                                    FACTUAL AVERMENTS

        5.    The debtor is a limited liability company headquartered in Huntsville, Madison
 County, Alabama. The company books and records are kept in Huntsville, Alabama, and all
 annual and special LLC members meetings take place in Huntsville, Alabama. The debtor’s
 majority owner and managing member, Gagandeep Dhaliwal, also resides in Huntsville,
 Alabama.




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        6.      Since April, 2007, the debtor has owned and operated a four-story, seventy-two
 room hotel business d/b/a Comfort Suites Gainsville, located in Gainsville, Texas. The debtor
 continues to operate the business at present as debtor-in-possession.

         7.     The debtor has obtained a certified appraisal which shows that the value of its
 hotel property as of the petition date was approximately $2,800,000.00.

        8.     The debtor’s hotel property is subject to a first mortgage to U.S. Bank of St.
 Louis, Missouri (“U.S. Bank”), in the approximate balance of $2,576,496.11.

        9.      The debtor avers that, as of the petition date, U.S. Bank’s mortgage was fully
 secured for value, and the debtor was current in its mortgage payments to U.S. Bank.

       10.     The debtor’s hotel property is subject to a second mortgage to Small Business
 Administration (“SBA”) in the approximate amount of $1,591, 923.20.

        11.    The debtor avers that, as of the petition date, SBA’s mortgage was partly secured
 for value, and the debtor was current in its reduced payments under an accommodation
 agreement with SBA.

       12.     The debtor’s hotel property is subject to a third mortgage to First Citizens Bank of
 Temecula, California, in the approximate amount of $255,976.73.

        13.     The debtor avers that, as of the petition date, First Citizen Bank’s mortgage was
 not secured for value as a lien against the debtor’s hotel property.

        14.    The debtor’s hotel property is subject to a fourth mortgage to North Texas Hotel
 Group in the approximate amount of $313,197.73.

       15.    The debtor avers that, as of the petition date, North Texas Hotel Group’s
 mortgage was not secured for value as a lien against the debtor’s hotel property.


                                           COUNT ONE

                 Valuation of Debtor’s Hotel Property Under Rule 3012 FRBP

         16.     The Notes of the Advisory Committee on Rules concerning FRBP 3012 states in
 part: “Pursuant to Sec. 506(a) of the Code, secured claims are to be valued and allowed as
 secured to the extent of the value of the collateral and unsecured, to the extent it is enforceable,
 for the excess over such value.”

        17.     Debtor hereby seeks a valuation of its hotel property under FRBP Rule 3012 by
 order of this Court.




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                                          COUNT TWO

        Declaration that Claims of First Citizens Bank and North Texas Hotel Group
          Are Unsecured Under 11 U.S.C. § 506 For Debtor’s Reorganization Plan


       18.     Given the value of the collateral property and the amount of the first and second
 mortgages, only the first and second mortgages are secured or partially secured for value.

        19.     Debtor hereby seeks a declaration that the third mortgage to First Citizens Bank is
 not secured for value and that the debtor may treat First Citizen Bank’s claim as unsecured
 pursuant to 11 U.S.C. §506 in its plan of reorganization.

        20.     Debtor hereby seeks a declaration that the fourth mortgage to North Texas Hotel
 Group is not secured for value and that the debtor may treat North Texas Hotel Group’s claim as
 unsecured pursuant to 11 U.S.C. §506 in its plan of reorganization.


                                    PRAYERS FOR RELIEF

        WHEREFORE, the debtor prays for an Order of this Court:

        1.      Giving such notice as the Court shall require to the defendants to make answer to
 the complaint on or before a date certain to be set by this Court; and

       2.      Upon notice and a hearing, determining that the third mortgage to First Citizens
 Bank and the fourth mortgage to North Texas Hotel Group are not secured for value; and

        3.     Declaring that the debtor may treat the claims of First Citizens Bank and North
 Texas Hotel Group as unsecured in its plan of reorganization; and

        4.      Granting such further relief as the Court deems just and proper.

        Respectfully submitted this 28th day of September, 2011.


                                              /s/Tazewell T. Shepard
                                              Tazewell T. Shepard
                                              Kevin M. Morris
                                              Attorneys to Chapter 11 Debtor

                                              SPARKMAN, SHEPARD & MORRIS, P.C.
                                              P.O. Box 19045
                                              Huntsville, AL 35804
                                              Tel: (256) 512-9924
                                              Fax: (256) 512-9837




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